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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

    UNITED STATES OF AMERICA
                                               No. 18 CR 681
               v.
                                               Hon. Virginia M. Kendall
    MICHAEL ABRAMSON

           GOVERNMENT’S CONSOLIDATED MOTIONS IN LIMINE

       The UNITED STATES OF AMERICA, through its attorney JOHN R.

LAUSCH, JR., United States Attorney for the Northern District of Illinois,

respectfully submits the following motions in limine: (1) seeking the Court’s

permission to recall the case agent during the government’s case-in-chief; (2)

providing notice to the Court of the government’s intention to ask the Court to treat

government witness Jerilyn Totani as a witness identified with an adverse party and

ask limited leading questions during her direct examination; and (3) asking the Court

to rule that any missing witness arguments be raised with the Court in advance. 1 In

support of its motions, the government states as follows:




1 As of the date of this filing, the parties are preparing for trial on September 7, 2020. In
light of the COVID-19 pandemic and Chief Judge Rebecca R. Pallmeyer’s Fourth Amended
General Order 20-0012 dated May 26, 2020, trials through August 3, 2020 have been
continued indefinitely and, pursuant to the initial General Order and first three Amended
Orders, criminal filing deadlines have been extended 77 days. Thus far, the parties have
timely tendered expert disclosures and filed motions in limine. The parties have agreed to a
two-week extension to file responses and replies to any motions in limine, making the new
operative date June 29, 2020 for responses and July 13, 2020 for replies. Those dates fall
within the 77-day extension included through the first three Amended Orders.
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                                     Background

      The indictment charges defendant Michael Abramson with fourteen counts of

false statements in corporate and individual tax filings, in violation of Title 26, United

States Code, Section 7206(1). R. 1. These false statements relate to hundreds of

thousands of dollars of payments from defendant Michael Abramson to his decades-

long romantic partner, Jerilyn Totani, through one of his companies, Eastern

Advisors. The false statements enabled Abramson to take unwarranted corporate

tax deductions and disguise gift payments to Totani as loans to avoid additional

taxable income.

                  Abramson’s Extramarital Relationship with Totani

      Beginning in the 1990s, Abramson, an attorney and business owner, began a

romantic relationship with Jerilyn Totani. Id. ¶ 1(j). The two met when Totani was

an exotic dancer at VIP’s Gentlemen’s Club (in which Abramson had a financial

interest). Early on during their relationship, Abramson rented Totani an apartment

at 1122 North Clark in Chicago to support Totani and facilitate their extramarital

relationship. In around 1999, 1122 North Clark converted to a condominium building

and Abramson purchased the condominium for approximately $250,000. Totani lived

in 1122 North Clark full time and Abramson put the condominium in a nominee’s

name in order to conceal his connection to the condominium and Totani.

          Abramson Directs Payments to Totani Through Eastern Advisors

      During this time, Abramson, owned and operated several companies including

Leasing Employment Services, Eastern Advisors, and PayTech. Id. ¶¶ 1(f) and (g).
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In around 2001, Outfront Media (formerly Viacom and CBS Outdoor, hereinafter

“Outfront”) retained Abramson in connection with potential litigation with the

Village of Rosemont relating to a land dispute involving several billboards in the area.

During the course of his representation of Outfront, Abramson connected Outfront

representatives with a business associate, Robert Durkin. Durkin helped Outfront

negotiate a resolution to the dispute with Village officials (the “Rosemont Billboards

Deal”). In or around June 2003, at Abramson’s direction, Outfront began directing

payments to Eastern Advisors in connection with the Rosemont Billboards Deal.

Thereafter, Outfront made quarterly payments of approximately $29,500 to Eastern

Advisors.   Id. ¶ 1(m).    At Abramson’s direction, the bookkeeper for Leasing

Employment Services, Eastern Advisors, and PayTech, Jill Roth, had Eastern

Advisors make regular payments of $2,500 to Totani on the 15th and 30th of each

month, booking those payments as “advance on commissions.” If the commissions

ultimately received by Eastern Advisors from Outfront were less than the funds

advanced to Totani, the remainder of the money already paid out to Totani was

reclassified to a loan account (the “JT Loan Account”).

      Throughout this same time-period, Abramson used Eastern Advisors to pay for

Totani’s living expenses, medical appointments and procedures, and credit card bills.

Between 2006 and 2014, Abramson personally made and caused Roth to make

approximately $681,000 in payments either to or on behalf of Totani and to record

the payments as loans from Abramson to Totani through the JT Loan Account. While

characterized as “loans” from Eastern Advisors, these payments were taxable



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distributions from Abramson to Totani. There was no loan document, interest rate,

or payment schedule. Totani never repaid or plan to repay Eastern Advisors or

Abramson for any of these payments.       Moreover, these payments supplemented

regular cash gifts given to Totani on a weekly basis (and her subsidized housing at

the condominium Abramson had purchased for her).          Abramson also purchased

Totani several cars, including two Corvettes, a Ferrari, and the shell of a 1974

Corvette. Abramson also leased Totani a 1999 Porsche 911 C2 and purchased her a

motorcycle. Abramson also purchased Totani thousands of dollars’ worth of jewelry.

      Between its inception in 2002 and 2013, Eastern Advisors, the entity funneling

hundreds of thousands of dollars to Totani, was required to and did not file an annual

United States Corporation Income Tax Return, Form 1120. Id. ¶ 1(q).

                      IRS Inquiry and Amended Tax Returns

      In or around October 2013, the IRS began requesting records relating to

Eastern Advisors and made a formal request to another business associate of

Abramson – William Vickerman – through the Mexican tax authorities (the

“Hacienda”). Vickerman and Abramson owned a spice distributing company, Grupo

Mexquitic (“Grupo”), which operated in Mexico. Shortly after receiving the request

from the Hacienda, Vickerman informed Abramson that the IRS was requesting

information about Eastern Advisors. Soon after, despite having worked with tax

preparers Krol & Associates for his personal income tax returns and Leasing

Employment Services’ returns since 1998, Abramson repeatedly asked Roth, his

bookkeeper, to prepare and file amended returns for his companies (including



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Eastern Advisors). Roth refused. On August 6, 2014, Abramson personally drafted

and submitted a determination letter request to the IRS requesting an extension of

time under various provisions of the IRS code in order to file amended consolidated

returns reflecting that that the entities (Leasing Employment Services, PayTech, and

Eastern Advisors) were consolidated and should have been deemed consolidated as

far back as 2006.

       Between 2014 and 2015, Abramson then caused his tax prepares to prepare

United States Corporation Income Tax Returns, Forms 1120 and 1120X, including

schedules and attachments, for Leasing Employment Services, PayTech, and Eastern

Advisors for calendar years 2006 through 2014. Id. ¶ 1(s). The returns included

information concerning the income and business expenses of Eastern Advisors. Id.

The tax filings included improper deductions related to the personal payments made

to Totani from Eastern Advisors and a schedule (Schedule L) referencing a loan

receivable from “JT” (Jerilyn Totani), which, in truth, reflected additional personal

payments from Abramson to Totani through Eastern Advisors. Those additional

payments were not a loan and, thus, not an asset to Eastern Advisors. The false

statements in Leasing Employment Services’ amended returns for 2006 through 2012

and returns for 2013 and 2014 and Abramson’s personal income tax returns for 2011

through 2014 resulted in tax loss to the IRS in the amount of approximately $190,559.

I.     Motion to Recall Case Agent

       In order to present its case in a chronological and coherent manner, the

government requests that the Court permit the government to recall the case agent,



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Special Agent Jason Gibson, during its case-in-chief. The government expects that

Special Agent Gibson will first: (1) testify about background relating to the Internal

Revenue Service; (2) testify about background of the investigation; and (3) introduce

several exhibits into the record. Following this initial testimony, several witnesses

will testify regarding Totani’s relationship with Abramson, the Rosemont Billboard

Deal, Abramson’s payment of commissions and other funds to Totani through Eastern

Advisors, and the various tax returns at issues, including tax loss to the IRS. After

that testimony, it might be necessary to recall Special Agent Gibson regarding other

aspects of the investigation, including to introduce summary charts and evidence

regarding Totani’s other work.

       The Seventh Circuit has held that “[t]he district court has substantial

discretion in its control of the presentation of evidence at trial.” United States v. Dent,

984 F.2d 1453, 1463 (7th Cir. 1993) (citing Fed. R. Evid. 611(a)) (overruled on other

grounds). Included in its authority and sound discretion is the ability to permit the

recalling of witnesses. Id. (citing United States v. Maddox, 944 F.2d 1223, 1230 (6th

Cir. 1991)).   Courts regularly permit parties to recall witnesses as part of the

presentation of evidence. See United States v. Vasquez, 635 F.3d 889, 897 (7th Cir.

2011) (no abuse of discretion for district court to allow the government to recall a

witness based on new information); United States v. Williams-Ogletree, No. 11 CR

203, 2013 WL 66207, at *3 (N.D. Ill. Jan. 4, 2013) (granting the government’s motion

in limine to allow the recalling of certain witnesses in order to present evidence in a

coherent manner).



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        Here, as noted above, Special Agent Gibson will initially provide generalized

testimony about the IRS and the background of the investigation and introduce

certain documents obtained during the course of the investigation. After several

witnesses testify and certain evidence is admitted into the record, the government

may seek to recall Special Agent Gibson to present summary charts under Federal

Rule of Evidence 1006 and other evidence regarding Totani’s other work.

        Accordingly, in order to facilitate the presentation of evidence at trial and to

facilitate juror comprehension, the government respectfully requests that the Court

permit the government to recall Special Agent Gibson during its case-in-chief.

II.     Notice of Government’s Intention to Request Court’s Approval to
        Treat Witness Totani as a Witness Identified with an Adverse Party
        and Ask Limited Leading Questions During Her Direct Examination

        During its case-in-chief, the government expects to call Totani, Abramson’s

romantic partner and financial dependent as a witness. Through this filing, the

government provides notice to the Court of its intention to request the Court’s

approval to treat Totani as a witness identified with an adverse party and use leading

questions during certain portions of her direct examination. Such a determination

“clearly falls within the area of control by the judge over the mode and order of

interrogation and presentation . . . .” Fed. R. Evid. 611 advisory committee’s note to

subdivision (c).

        Typically, on direct examination of a witness, leading questions should not be

used except as necessary to develop that witness’ testimony. Fed. R. Ev. 611(c). If,

however, a party calls a hostile witness, an adverse party, or a witness identified with



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an adverse party, the party calling the witness is permitted to use leading questions

in its examination of the witness. Id. The limitation on the use of leading questions

was “designed to guard against the risk of improper suggestion inherent in examining

friendly witnesses through the use of leading questions.” Ellis v. City of Chicago, 667

F.2d 606, 612 (7th Cir. 1981) (emphasis added). “The exception in rule 611(c)(2)

recognizes the risks of suggestion are reduced where the witness has an interest in

promoting a version of the facts contrary to that suggested.” Sec. & Exch. Comm’n v.

Goldstone, 317 F.R.D. 147, 163 (D.N.M. 2016).

      Under Rule 611(c), a witness “identified with an adverse party” is generally an

employee, agent, friend, or relative of an adverse party. See Ratliff v. City of Chicago,

et al., No. 10 C 739, 2012 WL 7993412, at *1 (N.D. Ill. Nov. 20, 2012); see also

Goldstone, 317 F.R.D. at 163 (“Although the precise meaning of witness identified

with an adverse party is not clearly defined, a few relationships fall within its

meaning.    These relationships include: (i) employee/employer relationships; (ii)

romantic partners; and (iii) law enforcement investigators.”) (internal quotations and

citations omitted). Notably, in the context of a witness identified with an adverse

party, the party calling the witness need not even establish that the witness is

“hostile.” See 4-611 Weinstein’s Federal Evidence § 611.06 (2015) (“Rule 611 is

designed to enlarge the categories of witnesses automatically considered to be adverse

without any further showing of hostility so that leading questions may be used during

their examination.”).    Cooperating witnesses testifying pursuant to a grant of

immunity may be designated hostile witnesses and subject to leading questions



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during their direct examinations. See United States v. Diaz, 662 F.2d 713, 718 (11th

Cir. 1981) (denying the defendant’s motion to treat immunized government witness

as a hostile witness because prior trial testimony reflected hostility towards

government rather than defendant).

      Typically, courts wait to observe the witness testify before determining

whether or not they are hostile. See St. Clair v. United States, 154 U.S. 134, 150

(1894); United States v. Brown, 603 F.2d 1022, 1026 (1st Cir. 1979) (affirming ruling

by the district court that the prosecutor be allowed to use leading questions where

witness and defendant were close friends, witness was a participant in the crime, and

witness testified about his “susceptibility to suggestion” and continued contact with

the defendant right up to trial). In United States v. Dingle, No. 12-30098, 2014 WL

6812457, at *3 (S.D. Ill. Dec. 3, 2014), the court conditionally granted the

government’s pre-trial motion to use leading questions during direct examination of

a witness to the extent that the government called the witness and submitted an offer

of proof outside the presence of the jury.

      Here, there is substantial evidence of Totani’s identification with Abramson.

Totani and Abramson have maintained an extramarital romantic relationship since

the mid-1990s. Throughout that time, Abramson purchased a condominium in which

Totani lived for approximately twenty years for around $250,000.       According to

Totani, at some point, Abramson took out a life insurance policy in the mid-1990s in

the amount of approximately $1,000,000 for her benefit. At some point, Totani asked

that Abramson increase the policy to $5,000,000.



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      The condominium and life insurance policy are just the tip of the iceberg of

Abramson’s financial support of Totani. Abramson has also provided Totani with

financial support through regular cash payments ($500 per week for decades),

hundreds of thousands of dollars of commissions payments from Eastern Advisors,

and the payment of her living expenses, credit card bills, and other miscellaneous

expenditures again, through Eastern Advisors (the purported “loan payments”). In

total, between 2003 and 2014, Abramson distributed in excess of $1.4 million to

Totani through Eastern Advisors. As discussed above, during this same time-period,

Abramson purchased Totani vehicles, including Corvettes, a Ferrari, and a

motorcycle and leased her a Porsche. Abramson covered tens of thousands of dollars

of Totani’s gambling losses and purchased Totani thousands of dollars’ worth of

expensive jewelry. During all of these years, Abramson handled Totani’s tax filings

through Krol & Associates and paid her taxes through Eastern Advisors.

      Totani’s financial reliance on Abramson is ongoing. Based on a review of

banking records relating to Totani’s account, between October 2016 and March 2020,

Abramson personally transferred approximately $134,410 to Totani’s bank account.

Between October 2016 and June 1, 2017, Eastern Advisors, through Abramson,

continued to pay Totani commissions and advance on commissions in the amount of

approximately $37,500. Between October 2016 and March 5, 2020, Totani made

deposits of approximately $123,050 in cash into her bank account.

      On or about November 16, 2017, the government provided Totani with letter

immunity.   During the course of meetings between Totani and the government,



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Totani said that Abramson was paying for her legal representation and that she

would “die” for Abramson. Totani also informed that, upon being approached and

subpoenaed by law enforcement officials in connection with this investigation in

August 2016, she immediately contacted Abramson and sent him a picture of the

subpoena.   Totani and Abramson met soon after to discuss the subpoena and

investigation.   When discussing the investigation, Abramson mentioned issues,

including the payments from Eastern Advisors and the Rosemont Billboards Deal,

about which expected the government to question her. Abramson then reminded

Totani that she had “brought the [Rosemont Billboards] deal.” Around that time,

Abramson also refreshed Totani’s recollection about an Independent Contractor

Agreement between Totani and Abramson, which Abramson then sent to her by email

and Totani purportedly later found underneath a dresser.

      Moreover, following his arraignment on or about October 18, 2018, Magistrate

Judge Maria Valdez released Abramson on bond pursuant to certain conditions of

release, including that Abramson avoid all contact with Totani (Individual A, as

identified in the indictment).   Less than a month later, on November 15, 2018,

Abramson moved to modify his conditions of release to remove the condition of release

precluding contact with Totani. R. 28. The government did not object on the condition

that Abramson and Totani avoided discussing the case and the Court modified

Abramson’s conditions of release accordingly. However, the fact that Abramson

sought to remove this condition less than a month after it was imposed in order to




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facilitate contact with Totani underscores their close personal relationship and

Totani’s identification with Abramson.

      The government expects that Totani will testify about a number of subject

matters, including her long-standing relationship with Abramson, her financial

dependence on him, the lavish lifestyle he supported, and how she did not consider

the hundreds of thousands of dollars Abramson spent on her behalf on living expenses

and bills to be loan payments. The government also expects Totani to testify that,

after Abramson refreshed her recollection, she recalled bringing the Rosemont

Billboards Deal to him following a brief encounter at a bowling alley in 2001. The

government also expects that Totani will testify that she believed she earned the

commissions payments from Eastern Advisors (by both bringing the deal to

Abramson and occasionally taking photographs of the billboards in Rosemont).

      Totani’s defense of her commissions’ payments, as supplied by Abramson

during the course of the investigation, is inconsistent with the government’s evidence.

At trial, the government intends to call witnesses who will testify that Totani did not

have any involvement in setting up the Rosemont Billboards Deal. Of course, “[a]ny

party, including the party that called the witness, may attack the witness’s

credibility.” See United States v. Davis, 896 F.3d 784, 789 (7th Cir. 2018) (quoting

Fed. R. Evid. 607). Here, because of Totani’s romantic relationship and close ties with

Abramson and her financial dependence on him, Totani should be deemed a witness

identified with an adversary.




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       Accordingly, during the course of her direct examination at trial, the

government anticipates moving the Court, pursuant to Federal Rule of Evidence

611(c), to ask Totani leading questions during certain portions of her testimony.

III.   Motion to Require Notice of Missing Witness Argument

       Through this motion, the government requests that the parties bring to the

Court’s attention any missing witness argument before any such argument is made

in front of the jury. In particular, during the course of the investigation, multiple

witnesses with potentially relevant information declined to speak with law

enforcement officials and to testify pursuant to grand jury subpoenas and asserted

their Fifth Amendment rights to avoid self-incrimination.

       “‘The rule . . . is that, if a party has it peculiarly within his power to produce

witnesses whose testimony would elucidate the transaction, the fact that he does not

do it creates the presumption that the testimony, if produced, would be unfavorable.’”

United States v. Mahone, 537 F.2d 922, 926 (7th Cir. 1976) (quoting Graves v. United

States, 150 U.S. 118, 121 (1893)).      “[W]here the witness appears to be equally

available or unavailable to both sides, we think it is well within the district court’s

discretion to refuse to allow [a missing witness] argument.”          United States v.

Keplinger, 776 F.2d 678, 703 (7th Cir. 1985). Nor is it appropriate for a defendant to

comment on the government’s refusal to call and immunize a witness.                 “The

immunization statutes are not designed to benefit defendants. Absent a substantial

showing of prosecutorial abuse of discretion, courts will not review a prosecutor’s




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immunization decision.” United States v. Flomenhoft, 714 F.2d 708, 713 (7th Cir.

1983) (internal citation omitted).

      As discussed above, multiple witnesses invoked their Fifth Amendment rights

and refused to speak with investigators and testify before the grand jury during the

course of the investigation. Thus far, one of those witnesses has been subpoenaed to

testify at trial. As of the date of this filing, that witness’ attorney informs that the

witness intends to again invoke his/her Fifth Amendment right with regard to trial.

As such, the government anticipates that this witness will be equally unavailable to

both sides and any missing witness argument or inference relating to this witness

would be inappropriate. For that reason, the government requests that any missing

witness argument be brought to the Court’s attention so that it may be addressed by

both parties.




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                                       Conclusion

      For the reasons set forth above, the government moves to recall Special Agent

Gibson during trial, provides the Court with notice that it will move to treat witness

Jerilyn Totani as a witness identified with an adversary on direct examination and

ask leading questions during portions of her testimony, and require the parties to

provide notice to the Court of any missing witness argument.



Date: June 1, 2020                       Respectfully submitted,


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